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             1         Christian W. Hancock - 027744        G. Benjamin Milam (Admitted Pro Hac
                       BRADLEY ARANT BOULT CUMMING          Vice)
             2         LLP                                  BRADLEY ARANT BOULT CUMMING LLP
                       Truist Center                        Truist Center
             3         214 North Tryon Street, Ste. 3700    214  North Tryon Street, Ste. 3700
                       Charlotte, NC 28202                  Charlotte, NC  28202
             4         Telephone: (704) 338 6089            Telephone:  (704) 338-6000
             5         chancock@bradley.com                 bmilam@bradley.com
                       Attorneys for Defendants Paramount Residential
             6         Mortgage Group, INC., and Cenlar FSB
                                           IN THE UNITED STATES DISTRICT COURT
             7                                 FOR THE DISTRICT OF ARIZONA
             8                                       PHOENIX DIVISION

             9
                       George Calcut, et al.,                             Case No. 2:22-cv-01215
            10
                                            Plaintiffs,
            11                                                            DEFENDANTS’ STATEMENT OF
                       v.                                                 MATERIAL FACTS IN SUPPORT
            12                                                            OF MOTION FOR SUMMARY
                                                                          JUDGMENT
            13         Paramount Residential Mortgage Group
                       Incorporated, et al
            14                             Defendants.

            15
                               Defendants Paramount Residential Mortgage Group, Inc. (“PRMG”) and Cenlar
            16
            17        FSB, (“Cenlar”) pursuant to the Federal Rule of Civil Procedure 56, and Local Rule 56.1,

            18        respectfully submit this Statement of Material Facts in support of their Motion for Summary
            19
                      Judgment and respectfully state as follows:
            20
                               1.    On April 17, 2020, Plaintiffs obtained a mortgage loan from PRMG in the
            21
            22        amount of $253,800 (the “Loan”), with a 2.750% interest rate. See Ex. A-1 (Note), Ex. A-

            23        2 (Deed of Trust).
            24
                               2.    Plaintiffs requested and were allowed to put their loan in forbearance in
            25
                      November 2020. On May 28, 2021, Plaintiffs contacted Cenlar stating they were interested
            26
            27        in ending the forbearance and inquiring about loss mitigation options which would allow

            28        them to begin making payments once again. See Ex. A (D. McCormick Aff.) at ¶ 13.
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             1                 3.    On June 1, 2021, Cenlar sent Plaintiffs a letter confirming they were approved
             2
                      for a trial payment plan, which, if completed would make Plaintiffs eligible for VA Disaster
             3
                      Modification. See Ex. A-7 (06.01.2021 Trial Payment Plan Letter). The letter provided the
             4
             5        projected loan terms for the loan modification including the estimated new principal

             6        balance, an estimated an interest rate of 3.5%, and projected principal and interest payments.
             7
                      Id.
             8
                               4.    Plaintiffs submitted complaints to the Consumer Financial Protection Bureau
             9
            10        regarding the loan modification process and regarding a reporting of delinquency on their

            11        loan for July 2021. On August 5, 2021, Cenlar and PRMG responded to the Plaintiffs’
            12
                      complaints submitted to the Consumer Financial Protection Bureau (“CFPB”),
            13
                      acknowledging an error in reporting Plaintiff’s loan as delinquent for July 2021, but denying
            14
            15        any error as to Plaintiffs’ loan modification. See Ex. A-12 (08.05.2021 CFPB Complaint

            16        Response).
            17
                               5.    On August 16, 2021, in response to a credit dispute submitted by Mr. Calcut,
            18
                      Cenlar submitted an ACDV response to correct the previous reporting of delinquency for
            19
            20        July 2021. See Ex. A-11 (ACDV Reports).

            21                 6.    On August 18, 2021, Trans Union issued a credit report showing the credit
            22
                      reporting issue had been corrected and the loan was reported as current and “paying as
            23
                      agreed.” See Ex. B (Trans Union Documents).
            24
            25                 7.    On August 25, 2021, Experian issued a credit report showing the credit

            26        reporting issue was corrected, and the loan was reported as current. See Ex. C (Experian
            27        Documents).
            28
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             1               8.     On September 15, 2021, Plaintiffs accepted a permanent loan modification
             2
                      which capitalized past due amounts, extended the loan term, and increased the interest rate
             3
                      to 3.375%. Ex. A-9 (Executed Loan Modification).
             4
             5               9.     On September 18, 2021, in response to a new credit dispute submitted by Mr.

             6        Calcut, Cenlar again submitted an ACDV response showing the account was current and
             7
                      there was no past due amount for July 2021. Ex. A-11.
             8
                             10.    On or about October 12, 2021, Cenlar began utilizing the Veterans Assistance
             9
            10        Partial Claim Program as a loss mitigation option for borrowers with VA loans. See Ex. A

            11        at ¶ 18.
            12
                             11.    On October 26, 2021, Cenlar and PRMG timely responded to the Plaintiffs’
            13
                      second complaint submitted to the CFPB, again acknowledging a credit reporting error in
            14
            15        reporting Plaintiff’s loan as delinquent for July 2021, but denying any error as to Plaintiffs’

            16        loan modification. See Ex. A-13 (10.26.2021 CFPB Complaint Response).
            17
                             12.    On October 28, 2021, in response to a new credit reporting dispute from Mr.
            18
                      Calcut, Cenlar submitted an ACDV response showing no past due amount for July 2021.
            19
            20        Ex. A-11.

            21               13.    On October 28, 2021, Equifax issued a report showing the credit reporting
            22
                      issue had been corrected, and the loan was reporting as current. See Ex. D (Equifax
            23
                      Documents).
            24
            25               14.    On May 31, 2022, Plaintiffs refinanced their loan with United Trust Bank

            26        (“UTB”). See Ex. E (UTB Mortgage). The new loan increased Plaintiffs’ interest rate to
            27        4.75%. Plaintiffs paid off the Loan, paid off $36,283.00 in credit card debt, and received
            28
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             1        $101,297.72 in cash from the refinance. Id.; see also Ex. F (UTB Closing Disclosures),
             2
                      Ex. G (George Calcut Dep.) at 47:17–48:6.
             3
                            15.    In his deposition, Plaintiff George Calcut admitted the reason for the delay in
             4
             5        closing the refinance of the loan with UTB was because Plaintiffs had to “complete six

             6        months of payments before United Trust or anybody else would touch me” following the
             7
                      loan modification. Ex. G (George Calcut Dep.) 112:4 – 113: 17.
             8
                                                        Respectfully submitted,
             9
                                                        s/ G. Benjamin Milam
            10
                                                        CHRISTIAN W. HANCOCK #027744
            11                                          chancock@bradley.com
                                                        (704) 338-6116 (Phone)
            12
                                                        (704) 338-6089 (Facsimile)
            13                                          G. BENJAMIN MILAM (Admitted Pro Hac Vice)
                                                        bmilam@bradley.com
            14                                          (704) 338-6000 (Phone)
            15                                          (704) 332-8858 (Facsimile)
                                                        BRADLEY ARANT BOULT CUMMING LLP
            16                                          Truist Center
                                                        214 North Tryon Street
            17                                          Ste 3700
            18                                          Charlotte, NC 28202

            19                                          Attorneys for Defendants
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